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INDIRECT LOAN PURCHASE AGREEMENT

This Indirect Loan Purchase Agreement (“Agreement”) is hereby made and entered into
by and between Tristar Acceptance, LLC (“Tristar”) and Aqua Finance, Inc. (“Aqua) For
reference purposes, this Agreement shall be deemed to be dated February 1, 2014. Tristar and
Aqua shall respectively be referred to as a “Party” and collectively as the “Parties”.

1. Purpose. Tristar is an indirect consumer automobile finance company providing
financing to consumers through loans originated by automobile dealers. Aqua is a finance
company licensed to purchase indirect consumer finance contracts. Tristar desires to sell fo
Aqua and Aqua desires to purchase from Tristar all right, title, and interest in certain automobile
loans that meet Aqua underwriting standards (“Loans”). See Exhibit A for Aqua underwriting
standards. Aqua, in turn, may seil all or a portion of the Loans to other lenders. Aqua and Tristar
in this Agreement desire to clearly identify the roles and responsibilities of each Party as they
relate to the sale of the Loans.

2. Term. The term of this Agreement shall be the period within which the terms and
conditions of this Agreement shall be applicable. The term of this Agreement shall commence
on February 1, 2014 and continue for a period of three (3) years (the “Initial Term”) unless
earlier terminated upon the occurrence of an Event of Default, as further defined in Section 10.2
hereof. This Agreement will automatically renew for an additional one (1) year term (the
“Renewal Term”) unless written notice is received from the other Party at least thirty (30) days
but not greater than sixty (60) days prior to the end of the Initial Term, or any subsequent
Renewal Term. Any Renewal Terms shall also be subject to earlier termination upon the
occurrence of any Event of Default. In addition, should Tristar not sell to Aqua the dollar
amount of Loans set forth below, Aqua may, in Aqua’s sole discretion, terminate this Agreement
on 30 days notice to Tristar,

3. Volume Requirements. Tristar will have $1,000,000 of Loans to sell to Aqua no
later than April 30, 2014. Total Loans sold to Aqua by Tristar shall be no less than $35,000,000
between February 1; 2014 and March 31, 2015. Total Loans sold to Aqua by Tristar shall be
$70,000,000 between February 1, 2015 and January 31,2016. Thereafter, Loans sold to Aqua by
Tristar shall not be less than $6,000,000 per month during the term of this Agreement.

4, Pools, Super Pools and Reserves. Aqua will buy Loans from Tristar in pools of
$1,000,000 or more. Each Pool shall have a weighted average FICO score of 600 and an average
per annum interest rate of not less than 18%. A cash reserve of $50,000 shall be paid by Tristar
at the time of signing this Agreement. The first Pool and every Pool thereafter in the first Super
Pool shall have a reserve of 2% and to the extent these are cash reserves, such funds shall be held
in accounts established in the name of Aqua and shall be noted on Aqua’s financial statements as
the “Tristar Reserve”. (The total reserve for the first Super Pool, assuming it contains
$10,000,000 of Loans, shall be $250,000,} Thereafter the reserve shall be 2.5% of each Pool
calculated as of the date of purchase. Pools shall be grouped together until there are ten Pools
and this group of Pools shall be referred to as a “Super Pool.” The reserves of each Pool ina
Super Pool shall be used to apply against losses in any Pool in that Super Pool. Once a Super
Pool has ten Pools in it, that Super Pool shall be static (i.e. no new Loans or Pools shall be added

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to that Super Pool), Absent fraud by Tristar and other than as set forth in Paragraph 9.8, Aqua
shall have no recourse against Tristar for nonperforming Loans except that Aqua may apply the
reserves as sot forth below. At the time the last loan is paid in a Super Pool if there is any
reserve that has not been applied for the reasons set forth below, such excess reserve shall be

paid to Tristar.

3. Use of Reserves. In the event of a Customer default, Aqua will attempt to
repossess and sell the automobile. In the event the sale results in a net loss, or if for some reason
the automobile cannot be sold, Aqua shall have the right to use the reserve to offset Aqua’s net
loss and also to cover Aqua’s out-of-pocket costs of collection. Any later recoveries of amounts
drawn from the reserve shall be added back to that reserve. Aqua shall maintain records of how
teserves have been applied and such records shall be available for review by Tristar upon
reasonable request, but not more frequently than once per month.

6. Payments to Tristar. For Pools with a weighted average FICO score of 620 and
above, Aqua will purchase Loans from Tristar for the full principal balance then outstanding
(less the applicable reserve), For Pools with a weighted average FICO score between 600 and
620, Aqua will purchase Loans from Tristar for the full principal balance then outstanding, less a
-75% discount (and less the applicable reserve). In addition, Tristar shall be paid a premium on
Pools where the average per annum interest rate is in excess of 18%, The premium shal! equal
73% of what the average per annum interest rate is in excess of 18%. For example, if the Pool
average per annum, interest rate is 19%, then Aqua shall pay Tristar 75% of 1% which would be
.75%, Tristar shall have the riglit to collect a fee from the dealer and in addition, Tristar shall
keep any discounts Tristar negotiates with the dealer, Any interest accrued prior to closing shall
belong to Tristar, subject to Aqua’s right to offset its servicing fee.

7. Aqua Represents and Warrants.

7.1 Due Organization and Good Standing. Aqua is an indirect lender, validly
existing and in good standing under the laws of the state of Wisconsin. To'the.exient required by
applicable law, Aqua is properly licensed and qualified to transact business in all appropriate
‘jurisdictions.

72 Authority and Capacity. Aqua has all requisite power, authority and
capacity to enter into this Agreement and to perform the obligations required of it. The
execution and delivery of this Agreement and the consummation of the ‘transactions
contemplated hereby have each been duly and validly authorized by all necessary action. This
Agreement constitutes the valid and legally binding agreement of Aqua enforceable in
accordance with its terms, subject to bankruptey laws and other similar laws of general
application affecting rights of creditors and subject to the application of the rules of equity,
including specific performance.

7.3 Litigation, There is no action, suit or proceeding or investigation pending
or to Aqua’s knowledge, threatened against Aqua that, if determined adversely to Aqua, would
adversely affect the sale of the Loans or the execution, delivery or enforceability of this
Agreement, .

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8. Tristar Represents and Warrants:

8.1 Due Organization and Good Standing. Tristar is a limited liability

‘ company validly existing and in good standing under the laws of the state of its organization. To
the extent required by applicable law, Tristar is properly: licensed and qualified to transact

business in all appropriate jurisdictions and to conduct all activities performed with respect to

this Agreement.

8.2 Authority and Capacity. Tristar has all requisite power, authority and
capacity to enter into this Agreement and to perform the obligation required of it. The execution
and delivery of this Agreement and the consummation of the transactions contemplated hereby
have each been duly and validly authorized by all necessary action. This Agreement constitutes
the valid and legally binding agreement of Tristar enforceable in accordance with its terms,
subject to bankruptcy laws and other similar laws of general application affecting rights of
creditors and subject to the application of the rules of equity, including specific performance.

8.3. Compliance with Contracts and Regulations. Prior to the sale of Loans to
Aqua, Tristar will have complied with all material obligations under all contracts to which it was
a party, and under applicable law, to the extent that such obligations might affect any of the
Loans being purchased by Aqua hereurider. Tristar has done and Tristar will do, no act or thing

which may adversely affect the Loans.

8.4 Litigation, Compliance with Laws. There is no litigation, proceeding or
governmental jnvestigation pending, or any other injunction or decree outstanding, which might
materially affect any of the Loans. Additionally, there is no litigation, proceeding or
governmental investigation existing or pending or, to the knowledge of Tristar threatened, or any
order, injunction or decree outstanding against or relating to Tristar, which could have a.material
adverse effect upon the Loans, nor does Tristar know of any basis for any such litigation,
proceeding, or governmental investigation. Tristar has not violated any applicable law,
regulation, ofdinance, ordet, injunction or decree, or any other requirement of any governmental
body or court, which may materially affect any of the Loans. Tristar will notify Aqua within 14
days of the occutrence of any pending litigation, proceeding, governmental investigation, or
other action as contemplated under this section.

9, Tristar Covenanits.

9.1 Assistance. Tristar will provide reasonable assistance to Aqua as Aqua
may reasonably request,

9.2 xelusivity. During the term of this Agreement, Tristar will exclusively
utilize Aqua as a “first look” purchaser of Loans. Such Loans shall be in accordance with the
Aqua Underwriting Standards (attached as Exhibit A, as may be amended from time to time by
Aqua). Such exclusivity shall not be applicable if Aqua declines in writing to purchase or
participate in a pool of automobile loans established by Tristar and another lender elects to
purchase or participate in such pool. The exclusivity waiver will be on a loan-by-loan basis.

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93 Financials. Tristar shall provide Aqua with Tristar’s monthly financial
reports and annual financial statements in a form and substance acceptable to Aqua and
additional reporting as reasonably required to satisfy any audit or regulatory obligations.

94 Reserved.

95 Seller Assignment. For each Pool Tristar sells to Aqua, an assignment
substantially similar to the Seller Assignment set forth in Exhibit B shall be provided by Tristar.

96 Power of Attorney, Tristax shall provide Aqua with a Power of Attorney
with each Pool substantially as set forth in Exhibit C,

9.7 Loans Sold to Aqua. Tristar represents and warrants that, with respect to
each Loan offered to or financed by Aqua:

9.7.1 The Loan will be originated in one of the following states: Florida,
Georgia, North Carolina and South Carolina.

9.7.2 The Loan was originated from a bona fide properly licensed
automobile sales dealership, with which Tristar has a written dealer agreement

similar to Exhibit D,

9.7.3 The Loan is an agreement for the financing of the Automobile
described in the Loan.and Tristar has not taken any action or omitted to take any
action which could reasonably have the effect of impairing the Loan in any way;

9,74 The Loan is enforceable in accordance with its terms and content
and is no more thatt 30 days past due at the time Aqua purchases the Pool
containing the Loan;

9.7.5 The Loan incorporates ail the terms and conditions of this
Agreement and is the final expression of the agreement of the Customer and
Aqua; ,

9.7.6 The Customer has no right of rescission or cancellation, claims or
defenses, set-off or counterclaims of any kind whatseever as to or against the
Loan or against Tristar;

9.7.7 Ali signatures, names, addresses, telephone numbers, figures and
other statements of fact set forth in the Loan are genuine, true and correct and the
Customer has the legal capacity to execute the Loan and create a legally binding
contract;

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9.7.8 Ifthe negotiation of the Loan was in a language other than English,
an accurate, written translation of every term and condition in the language of the
negotiations was given fo the Customer before the Customer signed the Loan;

9.7.9 On the date of the Loan, the Automobile which is the subject of the
Loan is in satisfactory condition and is in the possession of the Customer;

9.7.10 All vehicle titling and registration documentation and all insurance
documentation is current and in the possession of the Customer as required by
law;

9.7.11 The security interest or ownership interest held by Aqua in the
Automobile is validly perfected and creates a first priority lien, free of any
security interest, claim or lien by any third party; and

9.7.12 The Loan complies with the applicable Financing Program and
with all applicable state and federal laws and regulations.

9.8 Recourse, Tristar shall purchase any Loan, at a price equal to the
outstanding loan balance of the Loan plus the applicable incentives paid to Tristar and dealer:

9.8.1 Where the Loan, at the tirae of its origination, did not materially
conforth to the requirements of the applicable Financing Program or
representations and warranties set forth above; or

9.8.2 Where the first payment due on the Loan was not paid by the
Customer within 30 days of its scheduled due date.

if. tig. Mutually Understood and Agreed By and Between the Parties That:

10.1 Responsibility. Tristar and Aqua shall each be responsible for its own
activities and utilize its own resources, including expenditure of its own funds, in perfonning the
terms of this Agreement except that Aqua shall have available the funds in the reserves and may
use such reserve funds as specified in this: Agreement. Each Party shall carry out its separate
activities in a coordinated and mutually benéfioial manner, Aqua will solely be responsible for
determining credit standards and Tristar shall make credit decisions based entirely on Aqua’s
credit standards, which may change from time to time,

10.2 Events of Default. The occurrence of any of the following events shall
constitute an “Event of Default” hereunder:

10.2.1 failure to meet the volume requirements outlined in Parapraph 3.

10.2.2 failure on the part of Tristar to satisfy the conditions outlined in
Paragraphs 8 and 9,

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10.2.3 Aqua net losses on loans purchased from Tristar exceed 5% on an
annualized basis.

In the case of any event described in the foregoing suliparagraphs, Aqua shall have the
right to terminate this Agreement upen thirty (30) days prior written notice of the
occurrence of an Event of Default to Tristar pursuant to Section 10.

10.3 Costs and Expenses. Except as specifically provided to the contrary in
this Agreement, Aqua and Tristar shall each bear its own accounting, legal and related costs and
expenses in connection with the negotiation and preparation of this Agreement and the
performance by each of Aqua and Tristar of its respective obligations arising under this

Agreement.

10.4 Confidentiality of Information. ‘Tristar and Aqua and their respective
Affiliates shall cause their respective directors, members, officers, employees and authorized
representatives to hold in strict confidence and not use or disclose to any other party except their
Affiliates without the prior written consent of the. other party all information concerning
customers or proprietary business procedures, servicing fees or prices, policies or plans of the
other party of any of its or any of its affiliates received by them from the other party in
connection with transactions contemplated-hereby.

10.5 Safeguarding. Rule. The patties agree to protect Non-Public Personal
Information (“NPI”) about the Obligors within the micaning of Title V of the Gramm-Leach-
Bliley Act, any comparable state laws, and related federal and state regulations, including the
FTC Privacy and Safeguards regulations, 16 CFR parts 313 and 314, respectively (collectively,
the “FTC Safeguarding Rules”). Each party warrants and represents that it has and agrees to
maintain physical, electronic, and procedural controls and safeguards in compliance with the
FTC Safeguarding Rules to protect NPY from uriwarranted disclosure. Each party will implement
and maintain appropriate measure designed to meet the following objectives: (i) to ensure the
security and confidentiality of Obligor NPI; (ii) to protect against. any anticipated threats or
hazards to the security or integrity of such information; and (iii) to protect against unauthorized
access to or use of such information that could result in substantial harm or inconvenience to any

Obligor.

' 10.6 Notices. All notices, requests, demands and other communications which
are required or permitted to be given under this Agreement shall be in writing and shall be
deemed to have been duly given if personally delivered, sent by overnight courier, or mailed by
certified mail, return receipt requested, postage prepaid, or transmitted by facsimile and
confirmed by a similar mailed writing:

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os _ (a) ‘Efto Agua, to:

_ Robert D. Chadwell, President and CEO
~ Aqua Finance, Inc.
P.O, Box 844
Wausau, WI 54402-0844
Phone: 715/848-5425
Fax: 715/848-6220

{b) =‘ If to Tristar, to:

Robert Nelson,

Tristar Acceptance, LLC

327 Plaza Real Boulevard, Suite 301
Boca Raton, FL 33432

Phone: 561/674-6710

Fax:

or to such other address as Aqua or Tristar shall have specified in writing to the other.

10.7 Applicable Eaw. The construction of this Agreement and the rights,
remedies, and obligation arising by under, through, or on account of it shall be governed by the
internal Jaws of the State of Wisconsin, without regard to is conflicts of laws principles, except to
the exfent the saine are preempted by the laws of the United States.

10.8 Jurisdiction and Venue. Aqua and Tristar mutually agree that this
Agreement and the relations between the parties shall be construed in accordance with the laws
of the State of Wisconsin without regard to the conflicts of laws principles thereof. Any legal
cause of action arising out of a dispute concerning this Agreement or the enforceability of any
part thereof shall be subject to the jurisdiction of the courts of Marathon County, State of
Wisconsin or in the United States District Court for the Western District of Wisconsin.

10.9 dnfegration. This Agreemerit constitutes a final and complete integration
of the Agreement of the parties respecting the subject matter hereof, thereby superseding all
previous agreements. There are no contemporaneous oral agreements. The parties acknowledge
that as Loans are purchased by Aqua from Tristar and possibly sold to other lenders, other
documents including, but not lintited to Assignment Agreements,: Multiple Party Loan
Participation Agreements and Servicing Agreements, will be required. In the event of any
ambiguity or conflict between such other documents and this Agreement, the terms of the other
documents shall apply to that specific transaction.

10.10 Modification, This Agreement may not be changed orally but only by an.
agreement in writing, signed by the party against whom enforcement of any waiver, change,
modification, or discharge is sought. Subject to the foregoing, any of the terms or conditions of
this Agreement may be waived or modified at any time by the party entitled to the benefit
thereof, but no such waiver, express or implied, shall affect or impair the right of the waiving

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party to require observance, performance, satisfaction of either (1) the same term or condition as
it applies on a subsequent or previous occasion or (2) any other term or condition hereof.

10.11 Mutual Construction, This Agreement shall be deemed to have been
drafted by both Tristar and Aqua. Therefore, any arnbiguities shall not be construed against
either Party.

10.12 Captions. Paragraph captions in this Agreement are for ease of reference
only and shall be given no substantive or restrictive meaning or significance whatsoever.

10.13 Counterparts. This Agreement may be executed in two counterparts, each
of which shall be an original regardless of whether all parties sign the same document.
Regardless of the number of counterparts, they shall constitute only one agreement. It shall not
be necessary in making proof of this Agreement to produce or account for more than one

counterpart.

10.14 Aiforneys’ Fees, If any action of law or in equity, including an action for
declaratory relief, is brought to enforce or interpret thé provisions of this Agreement, the
prevailing party shall be entitled to recover reasonable attorneys' fees from the other party. Such
fees may be set by the court in the trial of such action or may be enforced in a separate action
brought for that purpose, Such fees shall be in addition to any other relief that may be awarded,

10.15 Binding Effect and Assignment, This Agreement shall inure to the benefit
of and be binding upon the parties hereto and their successors and assigns. Nothing in this
Agreement, express or implied, is iritended to confer on any person other than the parties hereto
and their successors and assigns, any rights, obligations, remedies or liabilities. It is expressly
agreed ihat Aqua may assign any Loan or grant a security interest in the Loans and/or
Automobiles in whole or in part without notice to Tristar, and any such assignee may further
assign the Loan and/or security interests, and Tristar shall remain liable to such assignee for the
warranties and representations related to the Loans and Automobiles as set forth in this
Agreement. However, neither this Agreement nor any right or obligation other than those that
relate to the Loans and/or Automobiles will be assigned or transferred by operation of law or
otherwise, by either party, in whole or in part, without the prior written consent of the other party
and any such purported assignment or transfer without such consent will be void; provided,
however, each party may assign any or all of its rights and obligations under this Agreement to
one or more of its affiliates.

10.16 Severability. In case any provision or obligation under this Agreement
shail be deemed invalid, illegal or unenforceable in any jurisdiction, the validity, legality and
enforceability of the remaining provisions or obligations, or of such provision or obligation, shall
not in any way be affected or inipaired thereby in any other jurisdiction.

10.17 Survival of Obligations. Paragraphs 4 and 5 shall survive the cancellation, .
completion, expiration, or termination of this Agreement.

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TRISTAR AQUEPTANCE, LLC A INANCE, INC,
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By e.
Kabeer G@ilse# Daw Ww Seba nee
(Print Name) ; Print Name)
Re SF DewT /e CHenemasnt ecu ve Wwe Vast DENT / CFO
(Title) .

(Title)

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EXHIBIT A

Underwriting Standards for Purposes of the Indirect Loan Purchase Agreement
Between Tristar Acceptance, LLC and Agua Finance, Inc.

(These underwriting standards are subject to change on 30 days notice from Aqua Finance,
dnc, to Tristar Acceptance, LLC. During that 30 day period Tristar may provide input to Aqua
on the proposed changes.)

Tristar Auto Finance
STR A

average condition value from
4%

maximum

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months
2013 1 year old 72 months
2012 2 years old 72 months
2011 3 years ofd 72 months
2010 4 years old 72 months
2009 5 years old 60 months
2008 6 yeas old 60 months-
2007 7 years old ; 48 months

Must be
PROFILE

Resideace 12 months at current residence or 24 months in area or 6 months at current residence or 24 months in

 

Employment 12 months al currest job or 24 months same areasfield 6 months at current job or 24 months in

380

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must be prior to
Bankruptey purchase of contract, No open bankeupicy

Repossession None

OTHER

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We would like to tiet we ged GPS Units installed on all Prograns B Contracts for INDEPENDENT G5

 

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